             Case 2:19-cv-11176-NJB-DMD Document 1-4 Filed 06/12/19 Page 1 of 8




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 19805646
Notice of Service of Process                                                                            Date Processed: 05/15/2019

Primary Contact:           Cathleen Buchanan
                           Stanley Black & Decker, Inc.
                           701 E Joppa Rd
                           Towson, MD 21286-5559

Entity:                                       Stanley Access Technologies LLC
                                              Entity ID Number 3423843
Entity Served:                                Stanley Access Technologies LLC
Title of Action:                              Ernestine Bolin vs. Lowe's Home Centers, L.L.C. d/b/a Lowe's
Document(s) Type:                             Citation/Petition
Nature of Action:                             Personal Injury
Court/Agency:                                 Jefferson Parish District Court, LA
Case/Reference No:                            794-455 D
Jurisdiction Served:                          Louisiana
Date Served on CSC:                           05/13/2019
Answer or Appearance Due:                     15 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Owen M. Courreges
                                              504-304-7916

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
Case 2:19-cv-11176-NJB-DMD Document 1-4 Filed 06/12/19 Page 2 of 8
Case 2:19-cv-11176-NJB-DMD Document 1-4 Filed 06/12/19 Page 3 of 8
Case 2:19-cv-11176-NJB-DMD Document 1-4 Filed 06/12/19 Page 4 of 8
Case 2:19-cv-11176-NJB-DMD Document 1-4 Filed 06/12/19 Page 5 of 8
Case 2:19-cv-11176-NJB-DMD Document 1-4 Filed 06/12/19 Page 6 of 8
Case 2:19-cv-11176-NJB-DMD Document 1-4 Filed 06/12/19 Page 7 of 8
Case 2:19-cv-11176-NJB-DMD Document 1-4 Filed 06/12/19 Page 8 of 8
